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     Attorneys for Defendant
 5   CHI KEUNG HUI

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 9
                      IN THE DISTRICT COURT OF THE UNITED STATES
10
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                     SACRAMENTO DIVISION
12

13
     UNITED STATES OF AMERICA,                        No. 2:08-CR-0064-MCE
14
                   Plaintiff,                         STIPULATION AND ORDER TO
15                                                    CONTINUE STATUS CONFERENCE
            v.
16
     CHI KEUNG HUI,
17
                   Defendant.
18
                                          /
19
           It is hereby stipulated by and between the parties of record that the status
20
     conference in the above-referenced matter should be continued from May 19, 2011 to
21
     July 7, 2011 at 9:00 a.m. It is further stipulated that there is good cause for said
22
     continuance to accommodate conflicts arising from counsels’ personal and trial
23
     schedules and for continuity of counsel pursuant to 18 U.S.C.§ 3161 (h)(7)(A) and
24
     (B)(iv), Local Codes T-2 and T -4.
25
     ///
26

                                                  1
      Case 2:08-cr-00064-MCE Document 110 Filed 05/18/11 Page 2 of 2


 1   Dated: May 17, 2011

 2

 3                                                    /s/
                                              TED W. CASSMAN,
 4                                            Attorney for Defendant
                                              CHI KEUNG HUI
 5

 6
     Dated: May 17, 2011
 7

 8
                                                        /s/
 9                                            MICHAEL BECKWITH,
                                              Assistant United States Attorney
10

11

12                                           ORDER

13       For the reasons stated above, the status conference in this matter, currently set for

14   May 19, 2011, is continued to July 7, 2011; and the time beginning May 19, 2011, and

15   extending through July 7, 2011, is excluded from the calculation of time under the

16   Speedy Trial Act for effective defense preparation. The Court finds that interests of

17   justice served by granting this continuance outweigh the best interests of the public and

18   the defendants in a speedy trial. 18 U.S.C.§ 3161 (h)(7)(A) and (B)(iv), Local Codes T-

19   2 and T -4.

20
      Dated: May 18, 2011
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22                                            ______________________________
                                              MORRISON C. ENGLAND, JR.
23                                            UNITED STATES DISTRICT JUDGE

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